Case 2:21-cv-00217-JRG Document 166 Filed 04/28/23 Page 1 of 1 PageID #: 13013




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 BOXCAST INC.,                                    §
                                                  §
                                                  §
                Plaintiff,                        §
                                                  §
 v.                                               §    CIVIL ACTION NO. 2:21-CV-00217-JRG
                                                  §
 RESI MEDIA LLC, PUSHPAY, INC.,                   §
 PUSHPAY HOLDINGS LTD., PUSHPAY                   §
 USA, INC                                         §
           Defendants.

                                             ORDER
       Before the Court is Plaintiff Boxcast Inc.’s (“Plaintiff”) Notice Regarding IPR Final

Written Decisions (the “Notice”). (Dkt. No. 165). On May 25, 2022, the Court stayed the above-

captioned case pending inter partes review. (Dkt. No. 163). In the Notice, Plaintiff advises that the

Patent Trial and Appeal Board (“PTAB”) issued Final Written Decisions finding all asserted

claims unpatentable and requests a stay of this proceeding during the pendency of Plaintiff’s appeal

of the PTAB’s Final Written Decisions. (Dkt. No. 165).

       Having considered the Notice, the Court is of the opinion that the stay in the

above-captioned case should be CONTINUED and that this action is STAYED pending

Plaintiff’s appeal of the Final Written Decisions. The parties shall notify the Court within five (5)

business days of any final decision issued by the United States Court of Appeals for the Federal

Circuit regarding Plaintiff’s appeal of the Final Written Decisions.


        So Ordered this
        Apr 28, 2023
